
233 Md. 620 (1963)
195 A.2d 693
FORRESTER
v.
WARDEN OF MARYLAND PENITENTIARY
[App. No. 63, September Term, 1963.]
Court of Appeals of Maryland.
Decided December 12, 1963.
*621 Before HENDERSON, HAMMOND, HORNEY, MARBURY and SYBERT, JJ.
PER CURIAM:
In his petition for post conviction relief, the applicant contended: (1) the evidence was not sufficient to convict; (2) he was denied due process of law; (3) there was perjured testimony; (4) his statement to the police was involuntary; (5) his arrest was illegal; (6) he was searched without a warrant; and (7) the same counsel should not have been appointed for all defendants because of conflict of interest.
As to all contentions, except (6), the application for leave to appeal is denied for the reasons assigned below. As to contention (6), the application for leave to appeal will also be denied since the petition of the applicant only alleges that he was searched without a warrant at the time of his arrest. There was no allegation, nor any claim in the record, that there was an illegal seizure of any evidence, nor that any such evidence was used against the applicant.
Application denied.
